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                              UNITED STATES DISTRICT COURT                        D,C   1   6 2020
                               WESTERN DISTRICT OF TEXAS                      F .K, U.S. DISTRICT CLERK

                                  SAN ANTONIO DIVISION                         TERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA,

                Plaintiff,
                                                 §
                                                 §

                                                 §
                                                     SA?oer?o
                                                      INDICTMENT
                                                                 601k
                                              §        Ct 1: 8 U.S.C. § 1324(a)(l)(A)(ii) & (v)(J)
 VS.                                          §        Conspiracy to Transport Illegal Aliens
                                              §        Ct 2: 8 U.S.C. § 1324(a)(1)(A)(iii) & (v)(I)
 JOSE MIGUEL SANDOVAL-PINEDA (1), §                    Conspiracy to Harbor Illegal Aliens
      aka "PRIMO"                 §                    Ct3: 18 U.S.C. § 1956(h)
      aka "CHAVALON"              §                    Conspiracy to Commit Money Laundering
 EMMANUEL VALDOVINOS (2),         §                    Ct 4: 18 U.S.C. § 844(n)
      aka"MANNY"                  §                    Conspiracy to Commit Arson
                                                       Cts 5: 18 U.S.C. § 844(i) & 2
                                              §        Arson of a Building
 JOSE VICTOR                                  §        Ct 6: 18 U.S.C. § 844(b) & 2
 CALLEJA-VELASQUEZ (4),                       §       Use of Fire or Explosives to Commit
       aka"KORY"                             §        a Federal Felony
                                              §       Cts 7-10: 26 U.S.C. § 5861(d)
                                                      Possession of a Destructive Device
                                             §        Cts 11-13: 18 U.S.C. § 922(g)(5)
JOSE EFRAIN OVALLE-ALVARADO (7),                      Illegal Alien in Possession of a Firearm
                                                      Ct 14: 21 U.S.C. § 841(a)(l)/(b)(1)(A)
                                                      Possession with Intent to Distribute
                                                      Methamphetamine
                                                      Ct 15: 21 U.S.C. § 841(a)(1)/(b)(l)(C)
                                                      Possession with Intent to Distribute Cocaine

                                             §
                                             §
               Defendants.                   §
                                             §


THE GRAND JURY CHARGES:

                                         COUNT ONE
                             [8 U.S.C. § 1324(a)(1)(A)(ii) & (v)(I)1

        That on or about January 2019, the exact date unknown, and continuing until on or about

February 20, 2020, in the Western District of Texas, Defendants,

       JOSE MIGUEL SANDOVAL-PINEDA aka "PRIMO" aka "CHAVALON" (1),
                 EMMANUEL VALDOVINOS aka "MANNY" (2),
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                  JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),

                                                            ,
                         JOSE EFRAIN OVALLE-ALVARADO (7), and

 did knowingly combine, conspire, confederate and agree with others, known and unknown to the

 Grand Jury, to conimit the following offense against the United States: to transport and move, and

 attempt to transport and move, by means of transportation or otherwise, aliens who entered and

 remained in the United States in violation of law, knowing and in reckless disregard of the fact

that said aliens came to, entered, and remained in the United States in violation of law, and in

furtherance of such violation of law, in violation of Title 8, United States Code, Section

 l324(a)(1)(A)(ii) & (v)(I).

                                           COUNT TWO
                               [8 U.S.C. § 1324(a)(l)(A)(lii) & (v)(I)j

        That on or about January 2019, the exact date unknown, and continuing until on or about

February 20,2020, in the Western District of Texas, Defendants,

       JOSE MIGUEL SANDOVAL-PINEDA aka "PRIMO" aka "CHAVALON" (1),
                 EMMANUEL VALDOVINOS aka "MANNY" (2),

                 JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),
                                                              (
                                                "       ( ),
                        JOSE EFRAIN OVALLE-ALVARADO (7), and

did knowingly combine, conspire, confederate and agree with others, known and unknown to the

Grand Jury, to commit the following offense against the United States: to conceal, harbor, and

shield from detection aliens who entered and remained in the United States in violation of law,

knowing and in reckless disregard of the fact that said aliens came to, entered, and remained in the




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  United States in violation of law, in violation of Title 8, United States Code,
                                                                                  Section
  1324(a)(1)(A)(iii) & (v)(I).

                                          COUNT THREE
                                        118 U.S.C. § 1956(h)]

         That on or about Januaiy 2019, the exact date unknown, and continuing until on or
                                                                                           about
 January 14, 2020, in the Western District of Texas, Defendants,

       JOSE MIGUEL SANDOVAL-PINEDA aka "PRIMO" aka "CHAVALON" (1),




 did knowingly combine, conspire, and agree with each other and with others, known and
                                                                                             unknown
 to the Grand Jury, to commit offenses against the United States in violation of Title 18,
                                                                                           United
 States Code, Section 1956, that is: to transport, transmit, and transfer, and attempt to transport,

transmit, and transfer a monetary instrument or funds involving the proceeds of specified unlawful

activity, that is, Conspiracy to Transport and Harbor Illegal Aliens, in violation of Title 8, United

States Code, Section 1 324(a)( 1 )(A)(ii), (iii), & (v)(I), from a place in the United States to or

through a place outside the United States and to a place in the United States from or through a

place outside the United States, knowing that the funds involved in the transportation,

transmission, and transfer represented the proceeds of some form of unlawful activity and knowing

that such transportation, transmission, and transfer was designed in whole or in part to conceal and

disguise the nature, location, source, ownership, and control of the proceeds of the specified

unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(2)(B)(i).

                                        COUNT FOUR
                                      [18 U.S.C. § 844(n)]

       That on or about September 2, 2019, in the Western District of Texas, Defendants,

      JOSE MIGUEL SANDOVAL-PINEDA aka "PRIMO" aka "CHAVALON" (1),


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 did knowingly combine, conspire, and agree with each other and with others, known and
                                                                                       unknown
 to the Grand Jury, to commit offenses against the United States, that is, they
                                                                                conspired to
 maliciously damage and attempted to damage and destroy, by means of fire and explosive

 materials, a residence, located on the 800 block of Brownleaf Street, San Antonio, Texas
                                                                                          and used
 in interstate commerce, in violation of Title 18, United States Code, Section 844(i), all in
                                                                                              violation
 of Title 18, United States Code, Section 844(n).

                                           COUNT FIVE
                                     [18 U.S.C. § 844(i) & 2]

        That on or about September 2, 2019, in the Western District of Texas, Defendants,




aided and abetted by each other, maliciously damaged and attempted to damage and destroy,
                                                                                          by
means of fire and explosive materials, a residence, located on the 800 block of Brownleaf Street,

San Antonio, Texas and used in interstate commerce, in violation of Title 18, United States Code,

Sections 844(i) & 2.

                                           COUNT SIX
                                    [18 U.S.C. § 844(h) & 2]

       That on or about September 2, 2019, in the Western District of Texas, Defendants,

      JOSE MIGUEL SANDOVAL-PINEDA aka "PRIMO" aka "CHAVALON" (1),




aided and abetted by each other, knowingly used fire and explosive materials to commit, and
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  unlawfully carried an explosive during the commission of, Conspiracy to Commit
                                                                                 Arson of a
  Building, a felony prosecutable in a court of the United States, in violation of Title
                                                                                         18, United

  States Code, Sections 844(h) & 2.

                                         COUNT SEVEN
                                       126 U.S.C. § 5861(d)]

         That on or about September 2, 2019, in the Western District of Texas, Defendant,



 knowingly possessed a destructive device, that is, a Molotov cocktail, that was not
                                                                                     registered to
 him in the National Firearms Registration and Transfer Record, in violation of
                                                                                Title 26, United
 States Code, Section 5861(d).

                                         COUNT EIGHT
                                      [26 U.S.C. § 5861(d)]

        That on or about September 2, 2019, in the Western District of Texas, Defendant,



knowingly possessed a destructive device, that is, a Molotov cocktail, that was not registered
                                                                                               to
him in the National Firearms Registration and Transfer Record, in violation of Title 26,
                                                                                         United
States Code, Section 5861(d).

                                         COUNT NINE
                                      [26 U.S.C. § 5861(d)]

       That on or about September 2, 2019, in the Western District of Texas, Defendant,



knowingly possessed a destructive device, that is, a Molotov cocktail, that was not registered to

him in the National Firearms Registration and Transfer Record, in violation of Title 26, United

States Code, Section 5861(d).




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                                          COUNT TEN
                                      [26 U.S.C. § 5861(d)J

        That on or about September 2, 2019, in the Western District of Texas, Defendant,



knowingly possessed a destructive device, that is, a Molotov cocktail, that was not registered to

him in the National Firearms Registration and Transfer Record, in violation of Title 26, United

States Code, Section 5861(d).

                                       COUNT ELEVEN
                                     [18 U.S.C. § 922(g)(5)]

        That on or about December 10, 2019, in the Western District of Texas, Defendant,

                 JOSE VICTOR CALLEJA-.VELASQUEZ aka "KORY" (4),

knowing he was an alien illegally and unlawfully in the United States, knowingly possessed a

firearm, to wit: a Glock, model 19, 9mm pistol, serial number BCWS685, and said firearm had

been shipped and transported in interstate and foreign commerce, in violation of Title 18, United

States Code, Section 922(g)(5).

                                       COUNT TWELVE
                                     [18 U.S.C. § 922(g)(5)]

       That on or 'about February 11, 2020, in the Western District of Texas, Defendant,

                JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),

knowing he was an alien illegally and unlawfully in the United States, knowingly possessed a

firearm, to wit: a Spike's Tactical, model ST-15, multi-caliber rifle, serial number SAR78579, and

said firearm had been shipped and transported in interstate and foreign commerce, in violation of

Title 18, United States Code, Section 922(g)(5).
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                                         COUNT THIRTEEN
                                        [18 U.S.C. § 922(g)(5)]

         That on or about November 24, 2020, in the Western District of Texas, Defendant,

                  JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),

 knowing he was an alien illegally and unlawfully in the United States, knowingly
                                                                                  possessed a
 firearm, to wit: a Glock, model 42, .380 caliber pistol, serial number ADRL 113, and said
                                                                                           firearm
 had been shipped and transported in interstate and foreign commerce, in violation of Title
                                                                                            18,

 United States Code, Section 922(g)(5).

                                       COUNT FOURTEEN
                                 [21 U.S.C. § 841(a)(1)/(b)(1)(A)J

         That on or about November 24, 2020, in the Western District of Texas, Defendant,

                 JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),
 did knowingly, intentionally, and unlawfully, possess with intent to distribute a
                                                                                   controlled
 substance, which offense involved 500 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II

Controlled Substance, contrary to Title 21, United States Code, Section 841 (a)( 1 )/(b)( 1 )(A).

                                       COUNT FIFTEEN
                                [21 U.S.C. § 841(a)(1)I(b)(1)(C)]

        That on or about November 24, 2020, in the Western District of Texas, Defendant,

                 JOSE VICTOR CALLEJA-VELASQUEZ aka "KORY" (4),
did knowingly, intentionally, and unlawfully, possess with intent to distribute a controlled

substance, which offense involved a mixture or substance containing a detectable amount of

cocaine, its salts, isomers, or salts of its isomers, a Schedule II Controlled Substance, contrary to

Title 21, United States Code, Section 841(a)(1)/(b)(1)(C).




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      NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                          [See Fed. R. Crim. P. 32.2]


                                                        I.


                      Alien Smuling Violations and Forfeiture Statutes
  [Title 8 U.S.C. § 1324 (a)(1)(A)(ii),(iii) & (v)(I) subject to forfeiture pursuant to Title 18
  U.S.C. § 982(a)(6), and 8 U.S.C. § 1324(b), made applicable to criminal forfeiture by Title
                                       28 U.S.C. § 2461.

          As a result of the foregoing criminal violations set forth in Counts One and Two, the United

 States of America gives notice to Defendants of its intent to seek the forfeiture of certain property

 upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C.             982(a)(6) and Title 8
                                                                                   §

 U.S.C.   §   1324(b), made applicable to criminal forfeiture by Title 28 U.S.C.       §   2461, which state:

          Title 18 U.S.C. § 982. Criminal forfeiture
          (a)(6)(A) The court, in imposing sentence on a person convicted of a violation of, or
          conspiracy to violate, . . . the Immigration and Nationality Act. . . shall order that the
          person forfeit to the United States, regardless of any provision of State law -
                  (i) any conveyance, including any vessel, vehicle, or aircraft used in the
                  commission of the offense of which the person is convicted; and
                  (ii) any property real or personal
                          (I) that constitutes, or is derived from or is traceable to the proceeds
                          obtained directly or indirectly from the commission of the offense
                          of which the person is convicted; or
                          (II) that is used to facilitate, or is intended to be used to facilitate,
                          the commission of the offense of which the person is convicted.

          Title 8 U.S.C. § 1324(b) Seizure and forfeiture
                  (1) In general
                  Any conveyance, including any vessel, vehicle, or aircraft that has been or
                  is being used in the commission of a violation of subsection (a) of this
                  section, the gross proceeds of such violation, and any property traceable to
                  such conveyance or proceeds, shall be seized and subject to forfeiture.

                                                  II.

                         Firearms Violations and Forfeiture Statutes
  [Title 18 U.S.C. § 922(g)(5), subject to forfeiture pursuant to Title 18 U.S.C. § 924(d)(1),
              made applicable to criminal forfeiture by Title 28 U.S.C. § 2461]

       As a result of the criminal violation set forth in Count Eleven through Thirteen , the United

States of America gives notice to Defendants of its intent to seek the forfeiture of the property
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 described below upon conviction pursuant to FED.             R. CRIM. P.   32.2 and Title 18 U.S.C.        924, as
                                                                                                        §

 made applicable to criminal forfeiture by 28 U.S.C.           §   2461. Section 924 states in pertinent part:

           Title 18 U.S.C. § 924. Penalties

                     (d)(1) Any firearm or ammunition involved in or used in any knowing
                    violation of subsection. . . (g). . . of section 922, . . . shall be subject to
                    seizure and forfeiture.. . under the provisions of this chapter.

                                                       III.
                  Unregistered Possession Violations and Forfeiture Statutes
 [Title 26 U.S.C. § 5861(d), subject for forfeiture pursuant to Title 26 U.S.C. § 5872(a), made
                 applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)1

          As a result of the criminal violations set forth in Counts Five through Eight, the United

 States of America gives notice to the Defendants of its intent to seek the forfeiture of property,

including the items listed below, upon conviction and as part of sentencing, pursuant to                FED. R.

CRIM. P.      32.2 and Title 18 U.S.C.   §   924(d)(1), made applicable to criminal forfeiture by Title 28

U.S.C.    §   2461(c), which states the following:

          Title 26 U.S.C. § 5872. Forfeiture
                  (a) Laws applicable Any firearm involved in any violation of the
                  provisions of this chapter shall be subject to seizure and forfeiture...

                                                      Iv.
                        Money Launderina Violations and Forfeiture Statutes
                      [Title 18 U.S.C. § 1956(a)(2)(A) & (h) subject to forfeiture
                                pursuant to Title 18 U.S.C. § 982(a)(1)J
          As a result of the foregoing criminal violations set forth in Count Three, the United States

of America gives notice to Defendants of its intent to seek the forfeiture of the property described

below upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C.                §   982(a)(1), which

states:

          Title 18 U.S.C. § 982. Criminal forfeiture
              (a)(1) The court, in imposing sentence on a person convicted of an offense in
              violation of section 1956.. . of this title, shall order that the person forfeit to the



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            United States any property, real or personal, involved in such offense, or any
            property traceable to such property.


                                                 V.
                               Arson and Forfeiture Statutes
       [Title 18 U.S.C. § 844(n), (i),(h), subject for forfeiture pursuant to Title 18 U.S.C.
        § 981(a)(1)(C), made applicable to criminal forfeiture by Title 28 U.S.C. § 24611

        As a result of the criminal violation set forth in Counts Four, Nine, and Ten the United

States of America gives notice to Defendants of its intent to seek the forfeiture of the property

described below upon conviction pursuant to       FED.   R. CRIM. P. 32.2 and Title 18 U.S.C.    §   844(c)

and Title 18 U.S.C.   §   981(a)(1)(c), as made applicable to criminal forfeiture by 28 U.S.C.   §   2461.

Section 844 states in pertinent part:

        Title 18 U.S.C. § Penalties

                (c) Any explosive materials involved or used or intended to be used in any violation
               of the provisions of this chapter or any other rule or regulation promulgated
               thereunder or any violation of any criminal law of the United States shall be subject
               to seizure and forfeiture, and all provisions of the Internal Revenue Code of 1986
               relating to the seizure, forfeiture, and disposition of firearms, as defmed in section
               5 845(a) of that Code, shall, so far as applicable, extend to seizures and forfeitures
               under the provisions of this chapter

Section 981 states in pertinent part:

        Title 18 U.S.C. § 981 Forfeiture
                (a)(1)(C) Any Property, real or personal, which constitutes or is derived from
               proceeds traceable to a violation of section.. .844.. .or any offense constituting
                "specified unlawful activity" . . . or a conspiracy to commit such offense.

                                                  VI.
                              Dru2 Violations and Forfeiture Statutes
     [Title 21 U.S.C. §     841(a)(1) and (b)(1)(A) & (C), subject to forfeiture pursuant to
                                Title 21 U.S.C. § 853(a)(1) and (2)]

       As a result of the foregoing criminal violations set forth in Count Fourteen and Fifteen, the

United States of America gives notice to Defendants of its intent to seek the forfeiture of the below




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 described properties upon conviction and pursuant to Fed. R. Crim. P. Rule 32.2 and Title 21 Usc

 §   853(a)(1) and (2), which state:

         Title 21 Usc § 853. Criminal forfeitures
                 (a) Property subject to criminal forfeitures.
                Any person convicted of a violation of this subchapter or subchapter II of this
                chapter punishable by imprisonment for more than one year shall forfeit to the
                United States, irrespective of any provision of State law

                          (1) any property constituting, or derived from, any proceeds the
                          person obtained, directly or indirectly, as the result of such
                          violation;
                          (2) any of the person's property used, or intended to be used, in
                          any manner or part, to commit, or to facilitate the commission of,
                          such violation;

                                               VII.
                                          Money Judgment

        Money Judgment: A sum of money which represents the value of any proceeds
        obtained directly or indirectly as a result of the violations set forth in counts 1-4,
        9-10, and 14-15, for which each Defendants is liable.

                                                VIII.
                                          Substitute Assets

        If any of the property described above as being subject to forfeiture for the violations set

forth above, as a result of any act or omission of Defendant:

        a.     cannot be located upon the exercise of due diligence;
        b.     has been transferred or sold to, or deposited with, a third party;
        c.     has been placed beyond the jurisdiction of the court;
        d.     has been substantially diminished in value; or
        e.     has been commingled with other property which cannot be divided without
               difficulty;

it is the intent of the United States of America to seek forfeiture of any other property, up to the

value of said money judgment, as substitute assets pursuant to Title 21 U.S.C. § 853(p) and Fed.

R. Crim. P. 32.2(e)(1).

This Notice of Demand for Forfeiture includes, but is not limited to, the following properties:



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      1. Glock, model 42, .380 caliber pistol, serial number ADRL 113;
      2. Spike's Tactical, model ST-iS, multi-caliber rifle, serial number SAR78579;
      3. $4,221.00 in United States Currency; and
      4. Any and all firearms, ammunition, and/or accessories involved in or used in the
          commission of the criminal offenses, including but not limited to tactical bulletproof
          vests, magazines, and AR- 15 Kits/assembly parts.




      GREGG N. SOFER
      UNITED STATES ATTORNEY


BY:
      BRIAN NOWINSKI
      Assistant United States Attorney




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